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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 ANDREW MOBUS,
          Plaintiff,

        v.                             C.A. No. 1:17-cv-11011-GAO

 BARD COLLEGE,
          Defendant.


      DEFENDANT’S EMERGENCY MOTION TO COMPEL PRODUCTION OF
               UNREDACTED PSYCHOTHERAPY RECORDS

       Pursuant to Local Rule 37.1, Defendant hereby moves on an emergency basis to compel

Plaintiff to provide complete and unredacted treatment notes from Plaintiff’s treating psychiatrist

in advance of the January 17, 2020 deadline for Defendant’s expert disclosures and the February

14, 2020 deadline for expert depositions. Defendant seeks emergency relief in order to avoid

prejudice to Defendant’s efforts to prepare its expert disclosures, depose Plaintiff’s psychiatric

expert, and defend against Plaintiff’s damages claim at trial.

       Plaintiff has disclosed two expert witnesses who together intend to testify that Plaintiff

has suffered over eight million dollars in damages because the actions of Bard College at

Simon’s Rock (“Simon’s Rock”) have rendered Plaintiff unable to continue his education or

work in any capacity. This extraordinary claim is based in significant part on the recently

produced treatment notes of Dr. Michael Laikin, a psychiatrist who has treated Plaintiff since

September 2014 (the “Supplemental Laikin Records”). Those notes provide a critical

contemporaneous record of Plaintiff’s mental state, and Dr. Laikin’s evaluation thereof, in the

years since Plaintiff left Simon’s Rock. Plaintiff has nonetheless refused to produce a complete

and unaltered set of the Supplemental Laikin Records, instead invoking Rule 26(b)(3) of the
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Federal Rules of Civil Procedure (“Rule 26(b)(3)”) to excise text that he claims reflects

“improvident disclosures” of oral communications between Plaintiff and his counsel regarding

“trial-preparation matters.”

       Plaintiff’s refusal to produce a complete and unaltered set of Dr. Laikin’s records runs

counter to established law and is unfair and prejudicial to Defendant. His purported justification

runs counter to the plain language of Rule 26(b)(3) and well established caselaw. Nothing in

Rule 26(b)(3) allows Plaintiff to selectively redact portions of the Supplemental Laikin Records,

and, even if it did, Plaintiff has waived its protections. Moreover, Defendant can overcome any

application of Rule 26(b)(3) because Defendant has a substantial need for the excised materials

and cannot obtain them by any other means.

       WHEREFORE, Defendant respectfully requests that this Court enter an order granting

this Motion and ordering as follows:

       1.      Plaintiff shall provide unredacted copies of the Supplemental Laikin Records
               within two (2) business days; and

       2.      The deadline for the disclosure of Defendant’s rebuttal experts shall be the later of
               January 17, 2020 or seven (7) days from the production to Defendant of the
               unredacted Supplemental Laikin Records.

                                             Respectfully Submitted,

                                             BARD COLLEGE,
                                             By its attorneys,

                                             /s/ Arielle B. Kristan
                                             Scott A. Roberts (BBO No. 550732)
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                                             Arielle B. Kristan (BBO No. 677048)
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Dated: January 7, 2020



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                  CERTIFICATION PURSUANT TO LOCAL RULE 37.1

        I, Arielle B. Kristan, hereby certify that counsel for Defendant has made a good faith and
reasonable effort to resolve the above-referenced issues by conferring in good faith with counsel
for Plaintiff.

                                              /s/ Arielle B. Kristan
                                              Arielle B. Kristan (BBO No. 677048)

                                 CERTIFICATE OF SERVICE

        I, Arielle B. Kristan, certify that this document, filed through the Electronic Case Filing
(ECF) system, will be sent electronically to the registered participants as identified on the Notice
of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered
participants on January 7, 2020.

                                              /s/ Arielle B. Kristan
                                              Arielle B. Kristan (BBO No. 677048)




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